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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

HON. KEVIN OWEN MCCARTHY, et al.,             :
                                              :
       Plaintiffs,                            :       Civil Action No.:     20-1395 (RC)
                                              :
       v.                                     :       Re Document Nos.:     8, 16
                                              :
HON. NANCY PELOSI, et al.,                    :
                                              :
       Defendants.                            :

                                          ORDER

     GRANTING DEFENDANTS’ MOTION TO DISMISS; DENYING PLAINTIFFS’ MOTION FOR

                                 PRELIMINARY INJUNCTION

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ motion to dismiss (ECF No. 16) is GRANTED;

Plaintiffs’ motion for preliminary injunction (ECF No. 8) is DENIED.

       SO ORDERED.


Dated: August 6, 2020                                          RUDOLPH CONTRERAS
                                                               United States District Judge
